UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CCO CONDO PORTFOLIO (AZ) JUNIOR
MEZZANINE, LLC,

                       Plaintiff,                         Case No.
v.

ZIEL FELDMAN and H F Z CAPITAL GROUP
LLC,

                       Defendants.



                                        COMPLAINT

       Plaintiff CCO Condo Portfolio (AZ) Junior Mezzanine, LLC, by their undersigned counsel

and for their complaint against Defendants, alleges as follows:

                                       INTRODUCTION

       1.      In November 2018, Plaintiff’s predecessor, CCO Condo Portfolio (NY) Mezzanine,

LLC, as the initial lender and in its capacity as administrative agent (collectively, “Original

Lender”) made four junior mezzanine loans, each of which was for a distinct borrower.

       2.      Each of the four loans relates to one of four condominium projects
                                                                              ST in Manhattan,

New York, which were owned by affiliates of Defendants until January 7, 2021.

       3.      As a condition for making all four junior mezzanine loans, Original Lender required

that Defendants execute and deliver to Original Lender various guaranties for which Defendants

jointly and severally guaranteed, among other things, punctual and complete payment for portions

of principal and interest on the loans when such amounts became due and payable, as well as
certain guaranteed obligations related to carrying costs and deficiency amounts, and recourse

obligations.1

        4.      As of November 2019, each borrower defaulted on the respective four loans, and

in July 2020, Original Lender gave notice of the default to all four borrowers and the Guarantor

Defendants. Original Lender additionally gave the four borrowers notices of acceleration of the

amounts due under their respective loans.

        5.      The principal and interest, as well as the guaranteed obligations related to carrying

costs and deficiency amounts, for each of the four loans remain outstanding.

        6.      Defendants have failed to meet their guaranteed obligations as to the guaranties,

which include, but are not limited to, the obligation to repay certain amounts due under the loans.

        7.      Original Lender assigned all of its interests in the loans to Plaintiff.

        8.      Plaintiff foreclosed on the collateral securing the loans via a UCC foreclosure sale

held on January 7, 2021 and became the indirect owner of the properties as of such date.

        9.      Accordingly, Plaintiff brings this action to enforce the guaranties, and recover from

Defendants the various amounts, including interest and costs, due under the guaranties.

                                               PARTIES

        10.     Plaintiff CCO Condo Portfolio (AZ) Junior Mezzanine, LLC is a limited liability

company formed under the laws of the State of Arizona, with its principal place of business in

Arizona and having an address of c/o CIM Group, 2398 E. Camelback Rd., 4th Floor, Phoenix,

Arizona 85016.


1       In addition, for each of the four loans, Defendants executed and delivered another guaranty relating
        to, inter alia, cost over-runs and completion. As the claims related to the cost over-runs and
        completion obligations have not yet ripened, Plaintiff reserves all rights and remedies with respect
        to any claims for amounts due under such guaranty including all rights to amend the Complaint to
        include such claims.



                                                     2
       11.     Plaintiff CCO Condo Portfolio (AZ) Junior Mezzanine, LLC is 100 percent owned

by CIM Real Estate Finance Trust, Inc., a Maryland corporation with its principal place of business

in Maryland. All of the membership interests of Plaintiff CCO Condo Portfolio (AZ) Junior

Mezzanine, LLC are held by CIM Real Estate Finance Trust, Inc., a Maryland corporation with its

principal place of business in Maryland.

       12.     Defendant Ziel Feldman is an individual residing in New York, New York with an

address of c/o H F Z Capital Group LLC, 600 Madison Avenue, Fifteenth Floor, New York, New

York 10022. Mr. Feldman is a resident and citizen of the State of New York.

       13.     Defendant H F Z Capital Group LLC is a limited liability company formed under

the laws of the State of New York, with its principal place of business in New York, having an

address of 600 Madison Avenue, Fifteenth Floor, New York, New York 10022.

       14.     The owners of Defendant H F Z Capital Group LLC are Defendant Ziel Feldman,

Helene S. Feldman, and the Feldman Family 2007 Trust. Defendant Ziel Feldman, Helene S.

Feldman, and the Feldman Family 2007 Trust together hold all of the membership interests of

Defendant H F Z Capital Group LLC.

       15.     Helene S. Feldman, a nonparty to this action, upon information and belief, is an

individual residing in New York, New York. Ms. Feldman is a resident and citizen of the State of

New York.

       16.     Helene S. Feldman is the trustee under the Feldman Family 2007 Trust, which is a

traditional trust and not a business trust. The beneficiaries of the Feldman Family 2007 Trust are

Leila Feldman, Jordan Feldman and Adam Feldman. Leila Feldman is an individual residing in

New York, New York with an address at 101 W 24th Street, New York, New York. Jordan

Feldman is an individual residing in New York, New York with an address at 50 Murray Street,




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New York, New York. Adam Feldman is an individual residing in New York, New York with an

address at 22 W 15th Street, New York, New York. Thus, the trustee and all beneficiaries of the

Feldman Family 2007 Trust are residents and citizens of the State of New York.

       17.     Based upon the foregoing, Defendant H F Z Capital Group LLC is a resident and

citizen of the State of New York and is not a resident or citizen of the State of Arizona or the State

of Maryland.

       18.     Based on the foregoing, all members of Defendant H F Z Capital Group LLC, and

any submembers of any members of Defendant H F Z Capital Group LLC, reside in, are citizens

of, or have their principal place of business only in the State of New York, and in no other state.

       19.     Upon information and belief, no members of Plaintiff, nor any submembers of any

members of Plaintiff, either reside in, are citizens of, or have their principal place of business in

the State of New York.

                                   JURISDICTION AND VENUE

       20.     The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

Section 1332(a)(2) because (a) Plaintiff is a citizen of the State of Maryland, and Defendants are

citizens of the State of New York, and (b) the amount in controversy far exceeds $75,000,

exclusive of interest and costs.

       21.     The Court has personal jurisdiction over Defendants because Defendants are found

in the State of New York, regularly and systematically conduct business in New York, and avail

themselves of New York.

       22.     The Court has personal jurisdiction over Defendants because the causes of action

set forth herein arise from Defendants’ transaction of business in New York.




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         23.     The Court has personal jurisdiction over Defendants because Defendants, upon

information and belief, own, use, or possess real property situated within the State of New York

and are found in the State of New York.

         24.     Venue in this District is proper pursuant to 28 U.S.C. Section 1391(b)(2) because a

substantial part of the events and omissions giving rise to the claims herein occurred in this District.

In the alternative, venue in this District is proper pursuant to 28 U.S.C. Section 1391(b)(3) because

Defendants are subject to personal jurisdiction in this District.

         25.     Additionally, pursuant to the applicable guaranties and loan agreements (defined

below), Defendant H F Z Capital Group LLC and Defendant Ziel Feldman agreed that service of

process at the New York address set forth in the governing loan agreements and paragraphs 12 and

13 herein will constitute effective service of process upon Defendants.

         26.     Further, pursuant to the applicable guaranties and loan agreements (defined below),

Defendant H F Z Capital Group LLC and Defendant Ziel Feldman agreed to submit to jurisdiction

in federal court in the State of New York and further agreed to waive any objections based on

venue.

                                                 FACTS2

I.       Defendants’ Failure to Meet Their Guaranteed Obligations for the Four Junior
         Mezzanine Loans

         27.     In November 2018, Original Lender made four junior mezzanine loans, each of

which was for a distinct borrower. Each of the four loans relates to one of four condominium

projects in Manhattan, New York, which were owned by affiliates of Defendants until January 7,

2021.



2        Unless otherwise defined, all capitalized terms used herein shall have the meanings ascribed to
         them in the applicable Guaranties and Loan Documents.


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       28.     Certain obligations relating to all four loans were guaranteed by Defendants herein

pursuant to five guaranties for each of the four loans, for a total of 20 guaranties.

       29.     In November 2019, all four borrowers defaulted under their respective loans. In

July 2020, Original Lender provided notices of default to both borrowers and Defendants and

subsequently delivered notices of demand for the amounts due under the applicable guaranties to

Defendants.

       30.     On January 7, 2021, Plaintiff foreclosed on the collateral securing the loans via a

UCC foreclosure sale and became the indirect owner of the properties as of such date. That

foreclosure did not extinguish any of the obligations that are the subject of this complaint.

       31.     The amounts, including interest and costs, due under the applicable guaranties

remain outstanding.

       32.     The factual allegations herein are organized based on the name of the borrower on

each of the four junior mezzanine loans as follows:

               a.      HFZ 88 Lexington Avenue Junior Mezzanine LLC

                        i.     Defendants’ Liability under the Payment Guaranty

                       ii.     Defendants’ Liability under the Carrying Costs Guaranty

                      iii.     Defendants’ Liability under the Supplemental Costs Guaranty

                       iv.     Defendants’ Liability under the Recourse Guaranty

               b.      HFZ 90 Lexington Avenue Junior Mezzanine LLC

                        i.     Defendants’ Liability under the Payment Guaranty

                       ii.     Defendants’ Liability under the Carrying Costs Guaranty

                      iii.     Defendants’ Liability under the Supplemental Costs Guaranty

                       iv.     Defendants’ Liability under the Recourse Guaranty




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              c.     HFZ 235 West 75th Street Junior Mezzanine LLC

                      i.    Defendants’ Liability under the Payment Guaranty

                     ii.    Defendants’ Liability under the Carrying Costs Guaranty

                    iii.    Defendants’ Liability under the Supplemental Costs Guaranty

                     iv.    Defendants’ Liability under the Recourse Guaranty

              d.     HFZ 301 West 53rd Street Junior Mezzanine LLC

                      i.    Defendants’ Liability under the Payment Guaranty

                     ii.    Defendants’ Liability under the Carrying Costs Guaranty

                    iii.    Defendants’ Liability under the Supplemental Costs Guaranty

                     iv.    Defendants’ Liability under the Recourse Guaranty

       A.     HFZ 88 Lexington Avenue Junior Mezzanine LLC

       33.    On or about November 30, 2018, HFZ 88 Lexington Avenue Junior Mezzanine

LLC (“88 Lexington Avenue Borrower”) requested that Original Lender make a loan to

Borrower in the original principal amount of up to $24,960,571.00 (the “88 Lexington Avenue

Loan”).

       34.    On or about November 30, 2018, Borrower and Original Lender executed a Junior

Mezzanine Loan and Security Agreement in the original principal amount of $24,960,571.00,

payable to Original Lender (as amended from time to time, the “88 Lexington Avenue Loan

Agreement”). A copy of the 88 Lexington Avenue Loan Agreement is attached hereto as

Exhibit A.

       35.    On or about November 30, 2018, Borrower executed a Junior Mezzanine Loan

Promissory Note in favor of Original Lender pursuant to the terms and conditions of the Junior

Mezzanine Loan and Security Agreement (as amended, restated, replaced, supplemented or




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otherwise modified from time to time, the “88 Lexington Avenue Note”). A copy of the 88

Lexington Avenue Note is attached hereto as Exhibit B.

       36.     Guarantors were the owners of an indirect interest in the 88 Lexington Avenue

Borrower until January 7, 2021.

       37.     As a condition to Original Lender’s making the 88 Lexington Avenue Loan,

Original Lender required that Defendant H F Z Capital Group LLC (“H F Z”) and Defendant Ziel

Feldman (“Feldman”) (together with “H F Z,” jointly and severally, and collectively, the

“Guarantors” or “Defendants”) execute and deliver to Original Lender certain guaranties in favor

of Original Lender, including the Junior Mezzanine Payment Guaranty, dated November 30, 2018

(the “88 Lexington Avenue Payment Guaranty”), the Junior Mezzanine Guaranty of Carrying

Costs, dated November 30, 2018 (the “88 Lexington Avenue Carrying Costs Guaranty”), the

Junior Mezzanine Supplemental Payment Guaranty, dated November 30, 2018 (the “88 Lexington

Avenue Supplemental Payment Guaranty”) and the Junior Mezzanine Guaranty of Recourse

Obligations, dated November 30, 2018 (the “88 Lexington Avenue Recourse Guaranty”).

       38.     Pursuant to Section 1.1 of the 88 Lexington Avenue Payment Guaranty,

Guarantors, Guarantors, as primary obligors, jointly and severally guarantee the punctual and

complete payment, as and when the same shall be due and payable, whether by lapse of time, by

acceleration of maturity or otherwise, of the repayment of a portion of principal and interest on the

88 Lexington Avenue Loan, in an amount not to exceed $1,383,500.00 (exclusive of costs of

enforcement). A copy of the 88 Lexington Avenue Payment Guaranty is attached hereto as

Exhibit C.

       39.     Pursuant to the 88 Lexington Avenue Carrying Costs Guaranty, Defendants, jointly

and severally, guaranteed the punctual and complete payment and performance of the Guaranteed




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Obligations, which include, without limitation, (a) 88 Lexington Avenue Borrower’s obligations

to pay interest payable at the Interest Rate or the Default Rate, as applicable under the 88 Lexington

Avenue Loan, including any payment-in-kind            (“PIK’d”) interest, (b) Senior Mezzanine

Borrower’s (as defined in the 88 Lexington Avenue Loan Agreement) obligations to pay interest

payable under the Senior Mezzanine Loan (as defined in the 88 Lexington Avenue Loan

Agreement), (c) Mortgage Borrower’s (as defined in the 88 Lexington Avenue Loan Agreement)

obligations to pay interest payable under the Mortgage Loan (as defined in the 88 Lexington

Avenue Loan Agreement), (d) 88 Lexington Avenue Borrower’s obligation to cause Mortgage

Borrower (as defined in the 88 Lexington Avenue Loan Agreement) to pay Impositions, and (e)

88 Lexington Avenue Borrower’s obligation to reimburse Administrative Agent for costs and

expenses under Section 20.2.1 of the 88 Lexington Avenue Loan Agreement (collectively, the

“Guaranteed Obligations under the 88 Lexington Avenue Carrying Costs Guaranty”). A

copy of the 88 Lexington Avenue Carrying Costs Guaranty is attached hereto as Exhibit D.

       40.     Pursuant to the 88 Lexington Avenue Supplemental                 Payment Guaranty,

Defendants, jointly and severally, guaranteed the punctual and complete payment as and when the

same shall be due and payable, of an amount equal to the positive difference, as of the date of

calculation, of (i) the sum of (x) the Debt Service Reserve Deficiency Amount (as defined in the

88 Lexington Avenue Supplemental Payment Guaranty) plus (y) the Operating Expense Reserve

Deficiency Amount (as defined in the 88 Lexington Avenue Supplemental Payment Guaranty),

less (ii) the aggregate amount actually on deposit in each of the Operating Expense Account (as

defined in the 88 Lexington Avenue Supplemental Payment Guaranty) and the Debt Service

Account (as defined in the 88 Lexington Avenue Supplemental Payment Guaranty).




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       41.     Pursuant to the 88 Lexington Avenue Recourse Guaranty, Defendants, jointly and

severally, guaranteed the punctual and complete payment, fulfillment and performance, as and

when the same shall be due and payable, whether by lapse of time, by acceleration of maturity or

otherwise, of all obligations of Borrower for which Borrower is stated to be personally liable

pursuant to Section 18.2 of the 88 Lexington Avenue Loan Agreement.

       42.     Events of Default have occurred under the 88 Lexington Avenue Loan pursuant to,

among others, Sections 17.1(a)(i)(B), 17.1(a)(ii), 17.1(a)(xii), 17.1(a)(xxiii), 17.1(a)(xxvi),

17.1(a)(xli), 17.1(a)(xlii) and 17.1(a)(xliii) of the 88 Lexington Avenue Loan Agreement, and

continued to occur until January 7, 2021 when Plaintiff gained control of the properties.

       43.     By letter dated July 2, 2020, Original Lender notified Guarantors that Events of

Default, as defined in the 88 Lexington Avenue Loan Agreement, had occurred under the loan

agreement as a result of, inter alia, 88 Lexington Avenue Borrower’s failure to pay all amounts

due under the 88 Lexington Avenue Loan on January 9, 2020, February 7, 2020, March 9, 2020,

April 9, 2020, May 8, 2020, and June 9, 2020 (the “88 Lexington Avenue Notice of Default to

Guarantors”). A copy of the 88 Lexington Avenue Notice of Default to Guarantors is attached

hereto as Exhibit E.

       44.     By letter dated July 9, 2020, Original Lender (i) notified Borrower that Events of

Default continued to exist and that the 88 Lexington Avenue Loan had been accelerated and (ii)

demanded immediate payment of all amounts due under the 88 Lexington Avenue Loan, including,

without limitation, the outstanding principal balance, accrued interest, default interest, and PIK’d

Interest (the “Acceleration Notice to 88 Lexington Avenue Borrower”).               A copy of the

Acceleration Notice to 88 Lexington Avenue Borrower is attached hereto as Exhibit F.




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        45.     As of March 22, 2021, the outstanding principal balance due under the 88

Lexington Avenue Note and the other loan documents (inclusive of protective advances) was

$27,141,892.16 in addition to, inter alia, accrued and unpaid interest, default interest, and late fees.

The foregoing is in addition to certain other costs incurred by Original Lender and Plaintiff as a

result of the aforementioned defaults including, without limitation, collection costs and attorneys’

fees.

                (1)     Defendants’ Liability under the 88 Lexington Avenue Payment
                        Guaranty

        46.     As of the date hereof, both principal and interest on the 88 Lexington Avenue Loan

remain outstanding.

        47.     Accordingly, under the 88 Lexington Avenue Payment Guaranty, Guarantors are

fully and personally liable for repayment of both principal and interest on the 88 Lexington Avenue

Loan, in an amount not to exceed $1,383,500.00 (the “Guarantors’ Liability on the 88 Lexington

Avenue Payment Guaranty”).

        48.     By correspondence dated July 10, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability on the 88 Lexington Avenue Payment Guaranty was due and made

demand on Guarantors for payment in full of the Guarantors’ liability (the “88 Lexington Avenue

Payment Guaranty Demand”). A copy of the 88 Lexington Avenue Payment Guaranty Demand

is attached hereto as Exhibit G.

        49.     The outstanding principal due under the 88 Lexington Avenue Loan is far in excess

of the amount due under the 88 Lexington Avenue Payment Guaranty.

        50.     As of the date hereof, Guarantors have not paid a portion of the principal and

interest of the 88 Lexington Avenue Loan under the 88 Lexington Avenue Payment Guaranty.




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              (2)     Defendants’ Liability under the 88 Lexington Avenue Carrying Costs
                      Guaranty

       51.    Additionally, under the 88 Lexington Avenue Carrying Costs Guaranty, Guarantors

are fully and personally liable for the Guaranteed Obligations under the 88 Lexington Avenue

Carrying Costs Guaranty in a minimum amount of $6,560,408.75,3 which amount covers, but is

not limited to, the debt service due on the 88 Lexington Avenue Loan and the related senior

mezzanine and mortgage loans as of the date of the 88 Lexington Avenue Carrying Costs Guaranty

Demand (as defined below) (the “Guarantors’ Liability on the 88 Lexington Avenue Carrying

Costs Guaranty”).

       52.    By correspondence dated July 16, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability on the 88 Lexington Avenue Carrying Costs Guaranty was due and

made demand on Guarantors for payment in full of the Guarantors’ liability (the “88 Lexington

Avenue Carrying Costs Guaranty Demand”). A copy of 88 Lexington Avenue Carrying Costs

Guaranty Demand is attached hereto as Exhibit H.

       53.    As of the date hereof, Guarantors have not paid any amount towards the Guaranteed

Obligations under the 88 Lexington Avenue Carrying Costs Guaranty.

              (3)     Defendants’ Liability under the 88 Lexington Avenue Supplemental
                      Payment Guaranty

       54.    Under the 88 Lexington Avenue Supplemental Payment Guaranty, Guarantors are

fully and personally liable for any unpaid Debt Service Reserve Deficiency Amount (as defined in

the 88 Lexington Avenue Supplemental Payment Guaranty) as well as any unpaid Operating

Expense Reserve Deficiency Amount (as defined in the 88 Lexington Avenue Supplemental

Payment Guaranty).



3      The amount does not include PIK’d Interest.


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       55.    By correspondence dated July 29, 2020, Original Lender requested Mortgage

Borrower (as defined in the 88 Lexington Avenue Loan Agreement) to pay the Operating Expense

Reserve Deficiency Amount calculated as of July 24, 2020, or $755,376.52 (the “88 Lexington

Avenue Operating Expense Reserve Deficiency Amount”), on or before August 13, 2020. The

88 Lexington Avenue Operating Expense Reserve Deficiency Amount has not been paid.

       56.    By correspondence dated July 29, 2020, Original Lender requested Mortgage

Borrower (as defined in the 88 Lexington Avenue Loan Agreement) to pay the Debt Service

Reserve Deficiency Amount calculated as of July 24, 2020, or $4,532,259.15 (the “88 Lexington

Avenue Debt Service Reserve Deficiency Amount”), on or before August 7, 2020.              By

correspondence dated August 11, 2020, Original Lender made a second request to Mortgage

Borrower (as defined in the 88 Lexington Avenue Loan Agreement) to pay the 88 Lexington

Avenue Debt Service Reserve Deficiency Amount on or before August 14, 2020.           The 88

Lexington Avenue Debt Service Reserve Deficiency Amount has not been paid.

       57.    By correspondence dated August 18, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability on the 88 Lexington Avenue Supplemental Payment Guaranty was

due and made demand on Guarantors for payment in full of the Guarantors’ liability (the “88

Lexington Avenue Supplemental Payment Guaranty Demand”). A copy of the 88 Lexington

Avenue Supplemental Payment Guaranty Demand is attached hereto as Exhibit I.

       58.    As of the date hereof, Guarantors have not paid any amount towards either the 88

Lexington Avenue Operating Expense Reserve Deficiency Amount or the 88 Lexington Avenue

Debt Service Reserve Deficiency Amount pursuant to the 88 Lexington Avenue Supplemental

Payment Guaranty.

              (4)    Defendants’ Liability under the 88 Lexington Avenue Recourse
                     Guaranty



                                             13
       59.     Additionally, under the 88 Lexington Avenue Recourse Guaranty, Guarantors are

fully and personally liable for the Guaranteed Obligations under the 88 Lexington Avenue

Recourse Guaranty in a minimum amount of $1,670,063.54, which amount covers, but is not

limited to, the Deferred Senior Mezzanine Origination Fee (as defined in the 88 Lexington Avenue

Loan Agreement) as of the date of the 88 Lexington Avenue Recourse Guaranty Demand (as

defined below) (the “Guarantors’ Liability on the 88 Lexington Avenue Recourse Guaranty”).

       60.     By correspondence dated July 17, 2020, Original Lender notified the Guarantors

that a portion of the Guarantors’ Liability on the 88 Lexington Avenue Recourse Guaranty

covering the Deferred Senior Mezzanine Origination Fee (and interest thereon) was then due and

made demand on Guarantors for payment in full of such amount (the “88 Lexington Avenue

Recourse Guaranty Demand”). A copy of 88 Lexington Avenue Recourse Guaranty Demand is

attached hereto as Exhibit J.

       61.     As of the date hereof, Guarantors’ Liability on the 88 Lexington Avenue Recourse

Guaranty remains unpaid.

       B.      HFZ 90 Lexington Avenue Junior Mezzanine LLC

       62.     On or about November 30, 2018, HFZ 90 Lexington Avenue Junior Mezzanine

LLC (“90 Lexington Avenue Borrower”) requested that Original Lender, make a loan to 90

Lexington Avenue Borrower in the original principal amount of up to $15,439,895.00 (the “90

Lexington Avenue Loan”).

       63.     On or about November 30, 2018, 90 Lexington Avenue Borrower and Original

Lender executed a Junior Mezzanine Loan and Security Agreement in the original principal

amount of $15,439,895.00, payable to Original Lender (as amended from time to time, the “90




                                              14
Lexington Avenue Loan Agreement”). A copy of the 90 Lexington Avenue Loan Agreement is

attached hereto as Exhibit K.

       64.     On or about November 30, 2018, 90 Lexington Avenue Borrower executed a Junior

Mezzanine Loan Promissory Note in favor of Original Lender pursuant to the terms and conditions

of the Junior Mezzanine Loan and Security Agreement (as amended, restated, replaced,

supplemented or otherwise modified from time to time, the “90 Lexington Avenue Note”). A

copy of the 90 Lexington Avenue Note is attached hereto as Exhibit L.

       65.     Guarantors were the owners of an indirect interest in the 90 Lexington Avenue

Borrower until January 7, 2021.

       66.     As a condition to Original Lender’s making the 90 Lexington Avenue Loan,

Original Lender required that Defendants execute and deliver to Original Lender certain guaranties

in favor of Original Lender, including the Junior Mezzanine Payment Guaranty, dated November

30, 2018 (the “90 Lexington Avenue Payment Guaranty”), the Junior Mezzanine Guaranty of

Carrying Costs, dated November 30, 2018 (the “90 Lexington Avenue Carrying Costs

Guaranty”), the Junior Mezzanine Supplemental Payment Guaranty, dated November 30, 2018

(the “90 Lexington Avenue Supplemental Payment Guaranty”) and the Junior Mezzanine

Guaranty of Recourse Obligations , dated November 30, 2018 (the “90 Lexington Avenue

Recourse Guaranty”).

       67.     Pursuant to Section 1.1 of the 90 Lexington Avenue Payment Guaranty,

Guarantors, as primary obligors, jointly and severally guarantee the punctual and complete

payment, as and when the same shall be due and payable, whether by lapse of time, by acceleration

of maturity or otherwise, of the repayment of a portion of principal and interest on the 90 Lexington




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Avenue Loan, in an amount not to exceed $832,000.00 (exclusive of costs of enforcement). A

copy of the 90 Lexington Avenue Payment Guaranty is attached Exhibit M.

       68.     Pursuant to the 90 Lexington Avenue Carrying Costs Guaranty, Defendants, jointly

and severally, guaranteed the punctual and complete payment and performance of the Guaranteed

Obligations, which include, without limitation, (a) 90 Lexington Avenue Borrower’s obligations

to pay interest payable at the Interest Rate or the Default Rate, as applicable under the 90 Lexington

Avenue Loan, including any PIK’d Interest, (b) Senior Mezzanine Borrower’s (as defined in the

90 Lexington Avenue Loan Agreement) obligations to pay interest payable under the Senior

Mezzanine Loan (as defined in the 90 Lexington Avenue Loan Agreement), (c) Mortgage

Borrower’s (as defined in the 90 Lexington Avenue Loan Agreement) obligations to pay interest

payable under the Mortgage Loan (as defined in the 90 Lexington Avenue Loan Agreement), (d)

90 Lexington Avenue Borrower’s obligation to cause 90 Lexington Avenue Mortgage Borrower

(as defined in the 90 Lexington Avenue Loan Agreement) to pay Impositions, and (e) 90 Lexington

Avenue Borrower’s obligation to reimburse Administrative Agent for costs and expenses under

Section 20.2.1 of the 90 Lexington Avenue Loan Agreement (collectively, the “Guaranteed

Obligations under the 90 Lexington Avenue Carrying Costs Guaranty”). A copy of the 90

Lexington Avenue Carrying Costs Guaranty is attached Exhibit N.

       69.     Pursuant to the 90 Lexington Avenue Supplemental                 Payment Guaranty,

Defendants, jointly and severally, guaranteed the punctual and complete payment as and when the

same shall be due and payable, of an amount equal to the positive difference, as of the date of

calculation, of (i) the sum of (x) the Debt Service Reserve Deficiency Amount (as defined in the

90 Lexington Avenue Supplemental Payment Guaranty) plus (y) the Operating Expense Reserve

Deficiency Amount (as defined in the 90 Lexington Avenue Supplemental Payment Guaranty),




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less (ii) the aggregate amount actually on deposit in each of the Operating Expense Account (as

defined in the 90 Lexington Avenue Supplemental Payment Guaranty) and the Debt Service

Account (as defined in the 90 Lexington Avenue Supplemental Payment Guaranty).

       70.     Pursuant to the 90 Lexington Avenue Recourse Guaranty, Defendants, jointly and

severally, guaranteed the punctual and complete payment, fulfillment and performance, as and

when the same shall be due and payable, whether by lapse of time, by acceleration of maturity or

otherwise, of all obligations of Borrower for which Borrower is stated to be personally liable

pursuant to Section 18.2 of the 90 Lexington Avenue Loan Agreement.

       71.     Events of Default have occurred under the 90 Lexington Avenue Loan pursuant to,

among others, Sections 17.1(a)(i)(B), 17.1(a)(ii), 17.1(a)(xii), 17.1(a)(xxiii), 17.1(a)(xxvi),

17.1(a)(xli), 17.1(a)(xlii) and 17.1(a)(xliii) of the 90 Lexington Avenue Loan Agreement, and

continued to occur until January 7, 2021 when Plaintiff gained control of the properties.

       72.     By letter dated July 2, 2020, Original Lender notified Guarantors that Events of

Default, as defined in the 90 Lexington Avenue Loan Agreement, had occurred under the loan

agreement as a result of, inter alia, 90 Lexington Avenue Borrower’s failure to pay all amounts

due under the 90 Lexington Avenue Loan on January 9, 2020, February 7, 2020, March 9, 2020,

April 9, 2020, May 8, 2020, and June 9, 2020 (the “90 Lexington Avenue Notice of Default to

Guarantors”). A copy of the 90 Lexington Avenue Notice of Default to Guarantors is attached

hereto as Exhibit O.

       73.     By letter dated July 9, 2020, Original Lender (i) notified 90 Lexington Avenue

Borrower that Events of Default continued to exist and that the 90 Lexington Avenue Loan had

been accelerated, and (ii) demanded immediate payment of all amounts due under the 90 Lexington

Avenue Loan, including, without limitation, the outstanding principal balance, accrued interest,




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default interest, and PIK’d Interest (the “Acceleration Notice to 90 Lexington Avenue

Borrower”). A copy of the Acceleration Notice to 90 Lexington Avenue Borrower is attached

hereto as Exhibit P.

        74.     As of March 22, 2021, the outstanding principal balance due under the 90

Lexington Avenue Note and the other loan documents (inclusive of protective advances) was

$16,575,313.45 in addition to, inter alia, accrued and unpaid interest, default interest, and late fees.

The foregoing is in addition to certain other costs incurred by Original Lender and Plaintiff as a

result of the aforementioned defaults including, without limitation, collection costs and attorneys’

fees.

                (1)     Defendant’s Liability under the 90 Lexington Avenue Payment
                        Guaranty

        75.     As of the date hereof, both principal and interest on the 90 Lexington Avenue Loan

remain outstanding.

        76.     Accordingly, under the 90 Lexington Avenue Payment Guaranty, Guarantors are

fully and personally liable for repayment of both principal and interest on the 90 Lexington Avenue

Loan, in an amount not to exceed $832,000.00 (the “Guarantors’ Liability on the 90 Lexington

Avenue Payment Guaranty”).

        77.     By correspondence dated July 10, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability on the 90 Lexington Avenue Payment Guaranty was due and made

demand on Guarantors for payment in full of the Guarantors’ liability (the “90 Lexington Avenue

Payment Guaranty Demand”). A copy of the 90 Lexington Avenue Payment Guaranty Demand

is attached hereto as Exhibit Q.

        78.     The outstanding principal due under the 90 Lexington Avenue Loan is now far in

excess of the amount due under the 90 Lexington Avenue Payment Guaranty.



                                                  18
       79.    As of the date hereof, Guarantors have not paid a portion of the principal and

interest of the 90 Lexington Avenue Loan.

              (2)     Defendant’s Liability under the 90 Lexington Avenue Carrying Costs
                      Guaranty

       80.    Additionally, under the 90 Lexington Avenue Carrying Costs Guaranty, Guarantors

are fully and personally liable for the Guaranteed Obligations under the 90 Lexington Avenue

Carrying Costs Guaranty in a minimum amount of $3,855,184.74,4 which amount covers, but is

not limited to, the debt service due on the 90 Lexington Avenue Loan and the related senior

mezzanine and mortgage loans as of the date of the 90 Lexington Avenue Carrying Costs Guaranty

Demand (as defined below) (the “Guarantors’ Liability on the 90 Lexington Avenue Carrying

Costs Guaranty”).

       81.    By correspondence dated July 16, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability on the 90 Lexington Avenue Carrying Costs Guaranty was due and

made demand on Guarantors for payment in full of the Guarantors’ liability (the “90 Lexington

Avenue Carrying Costs Guaranty Demand”). A copy of 90 Lexington Avenue Carrying Costs

Guaranty Demand is attached hereto as Exhibit R.

              (3)     Defendants’ Liability under the 90 Lexington Avenue Supplemental
                      Payment Guaranty

       82.    Under the 90 Lexington Avenue Supplemental Payment Guaranty, Guarantors are

fully and personally liable for any unpaid Debt Service Reserve Deficiency Amount (as defined in

the 90 Lexington Avenue Supplemental Payment Guaranty) as well as any unpaid Operating

Expense Reserve Deficiency Amount (as defined in the 90 Lexington Avenue Supplemental

Payment Guaranty).



4      The amount does not include PIK’d Interest.


                                                19
       83.    By correspondence dated July 29, 2020, Original Lender requested Mortgage

Borrower (as defined in the 90 Lexington Avenue Loan Agreement) to pay the Operating Expense

Reserve Deficiency Amount calculated as of July 24, 2020, or $458,321.36 (the “90 Lexington

Avenue Operating Expense Reserve Deficiency Amount”), on or before August 13, 2020. The

90 Lexington Avenue Operating Expense Reserve Deficiency Amount has not been paid.

       84.    By correspondence dated July 29, 2020, Original Lender requested Mortgage

Borrower (as defined in the 90 Lexington Avenue Loan Agreement) to pay the Debt Service

Reserve Deficiency Amount calculated as of July 24, 2020, or $2,749,928.15 (the “90 Lexington

Avenue Debt Service Reserve Deficiency Amount”), on or before August 7, 2020.              By

correspondence dated August 11, 2020, Original Lender made a second request to Mortgage

Borrower (as defined in the 90 Lexington Avenue Loan Agreement) to pay the 90 Lexington

Avenue Debt Service Reserve Deficiency Amount on or before August 14, 2020. The 90

Lexington Avenue Debt Service Reserve Deficiency Amount has not been paid.

       85.    By correspondence dated August 18, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability on the 90 Lexington Avenue Supplemental Payment Guaranty was

due and made demand on Guarantors for payment in full of the Guarantors’ liability (the “90

Lexington Avenue Supplemental Payment Guaranty Demand”). A copy of 90 Lexington

Avenue Supplemental Payment Guaranty Demand is attached hereto as Exhibit S.

       86.    As of the date hereof, Guarantors have not paid any amount towards either the 90

Lexington Avenue Operating Expense Reserve Deficiency Amount or the 90 Lexington Avenue

Debt Service Reserve Deficiency Amount pursuant to the 90 Lexington Avenue Supplemental

Payment Guaranty.

              (4)    Defendants’ Liability under the 90 Lexington Avenue Recourse
                     Guaranty



                                             20
       87.     Additionally, under the 90 Lexington Avenue Recourse Guaranty, Guarantors are

fully and personally liable for the Guaranteed Obligations under the 90 Lexington Avenue

Recourse Guaranty in a minimum amount of $1,004,528.06, which amount covers, but is not

limited to, the Deferred Senior Mezzanine Origination Fee (as defined in the 90 Lexington Avenue

Loan Agreement) as of the date of the 90 Lexington Avenue Recourse Guaranty Demand (as

defined below) (the “Guarantors’ Liability on the 90 Lexington Avenue Recourse Guaranty”).

       88.     By correspondence dated July 17, 2020, Original Lender notified the Guarantors

that a portion of the Guarantors’ Liability on the 90 Lexington Avenue Recourse Guaranty

covering the Deferred Senior Mezzanine Origination Fee (and interest thereon) was then due and

made demand on Guarantors for payment in full of such amount (the “90 Lexington Avenue

Recourse Guaranty Demand”). A copy of 90 Lexington Avenue Recourse Guaranty Demand is

attached hereto as Exhibit T.

       89.     As of the date hereof, Guarantors’ Liability on the 90 Lexington Avenue Recourse

Guaranty remains unpaid.

       C.      HFZ 235 West 75th Street Junior Mezzanine LLC

       90.     On or about November 30, 2018, HFZ 235 West 75th Street Junior Mezzanine LLC

(“235 West 75th Street Borrower”) requested that Original Lender make a loan to 235 West 75th

Street Borrower in the original principal amount of up to $38,755,787.00 (the “235 West 75th

Street Loan”).

       91.     On or about November 30, 2018, 235 West 75th Street Borrower and Original

Lender executed a Junior Mezzanine Loan and Security Agreement in the original principal

amount of $38,755,787.00, payable to Original Lender (as amended from time to time, the “235




                                              21
West 75th Street Loan Agreement”). A copy of the 235 West 75th Street Loan Agreement is

attached hereto as Exhibit U.

       92.     On or about November 30, 2018, 235 West 75th Street Borrower executed a Junior

Mezzanine Loan Promissory Note in favor of Original Lender pursuant to the terms and conditions

of the Junior Mezzanine Loan and Security Agreement (as amended, restated, replaced,

supplemented or otherwise modified from time to time, the “235 West 75th Street Note”). A

copy of the 235 West 75th Street Note is attached hereto as Exhibit V.

       93.     Guarantors were the owners of an indirect interest in the 235 West 75th Street

Borrower until January 7, 2021.

       94.     As a condition to Original Lender’s making the 235 West 75th Street Loan, Original

Lender required that Defendants execute and deliver to Original Lender certain guaranties in favor

of Original Lender, including the Junior Mezzanine Payment Guaranty, dated November 30, 2018

(the “235 West 75th Street Payment Guaranty”), the Junior Mezzanine Guaranty of Carrying

Costs, dated November 30, 2018 (the “235 West 75th Street Carrying Costs Guaranty”), the

Junior Mezzanine Supplemental Payment Guaranty, dated November 30, 2018 (the “235 West

75th Street Supplemental Payment Guaranty”) and the Junior Mezzanine Guaranty of Recourse

Obligations, dated November 30, 2018 (the “235 West 75th Street Recourse Guaranty”).

       95.     Pursuant to Section 1.1 of the 235 West 75th Street Payment Guaranty, Guarantors,

as primary obligors, jointly and severally guarantee the punctual and complete payment, as and

when the same shall be due and payable, whether by lapse of time, by acceleration of maturity or

otherwise, of the repayment of a portion of principal and interest on the 235 West 75th Street Loan,

in an amount not to exceed $1,833,000.00 (exclusive of costs of enforcement). A copy of the 235

West 75th Street Payment Guaranty is attached Exhibit W.




                                                22
       96.     Pursuant to the 235 West 75th Street Carrying Costs Guaranty, Defendants, jointly

and severally, guaranteed the punctual and complete payment and performance of the Guaranteed

Obligations, which include, without limitation, (a) 235 West 75th Street Borrower’s obligations to

pay interest payable at the Interest Rate or the Default Rate, as applicable under the 235 West 75th

Street Loan, including any PIK’d Interest, (b) Senior Mezzanine Borrower’s (as defined in the 235

West 75th Street Loan Agreement) obligations to pay interest payable under the Senior Mezzanine

Loan (as defined in the 235 West 75th Street Loan Agreement), (c) Mortgage Borrower’s (as

defined in the 235 West 75th Street Loan Agreement) obligations to pay interest payable under the

Mortgage Loan (as defined in the 235 West 75th Street Loan Agreement), (d) 235 West 75th Street

Borrower’s obligation to cause Mortgage Borrower (as defined in the 235 West 75th Street Loan

Agreement) to pay Impositions, and (e) 235 West 75th Street Borrower’s obligation to reimburse

Administrative Agent for costs and expenses under Section 20.2.1 of the 235 West 75th Street

Loan Agreement (collectively, the “Guaranteed Obligations under the 235 West 75th Street

Carrying Costs Guaranty”). A copy of the 235 West 75th Street Carrying Costs Guaranty is

attached hereto as Exhibit X.

       97.     Pursuant to the 235 West 75th Street Supplemental Payment Guaranty, Defendants,

jointly and severally, guaranteed the punctual and complete payment as and when the same shall

be due and payable, of an amount equal to the positive difference, as of the date of calculation, of

(i) the sum of (x) the Debt Service Reserve Deficiency Amount (as defined in the 235 West 75th

Street Supplemental Payment Guaranty) plus (y) the Operating Expense Reserve Deficiency

Amount (as defined in the 235 West 75th Street Supplemental Payment Guaranty), less (ii) the

aggregate amount actually on deposit in each of the Operating Expense Account (as defined in the




                                                23
235 West 75th Street Supplemental Payment Guaranty) and the Debt Service Account (as defined

in the 235 West 75th Street Supplemental Payment Guaranty).

       98.     Pursuant to the 235 West 75th Street Recourse Guaranty, Defendants, jointly and

severally, guaranteed the punctual and complete payment, fulfillment and performance, as and

when the same shall be due and payable, whether by lapse of time, by acceleration of maturity or

otherwise, of all obligations of Borrower for which Borrower is stated to be personally liable

pursuant to Section 18.2 of the 235 West 75th Street Loan Agreement.

       99.     Events of Default have occurred under the 235 West 75th Street Loan pursuant to,

among others, Sections 17.1(a)(i)(B), 17.1(a)(ii), 17.1(a)(xii), 17.1(a)(xxiii), 17.1(a)(xxvi),

17.1(a)(xli), 17.1(a)(xlii) and 17.1(a)(xliii) of the 235 West 75th Street Loan Agreement, and

continued to occur until January 7, 2021 when Plaintiff gained control of the properties.

       100.    By letter dated July 2, 2020, Original Lender notified Guarantors that Events of

Default, as defined in the 235 West 75th Street Loan Agreement, had occurred under the loan

agreement as a result of, inter alia, 235 West 75th Street Borrower’s failure to pay all amounts due

under the 235 West 75th Street Loan on January 9, 2020, February 7, 2020, March 9, 2020, April

9, 2020, May 8, 2020, and June 9, 2020 (the “235 West 75th Street Notice of Default to

Guarantors”). A copy of the 235 West 75th Street Notice of Default to Guarantors is attached

hereto as Exhibit Y.

       101.    By letter dated July 9, 2020, Original Lender (i) notified 235 West 75th Street

Borrower that Events of Default continued to exist and that the 235 West 75th Street Loan had

been accelerated, and (ii) demanded immediate payment of all amounts due under the 235 West

75th Street Loan, including, without limitation, the outstanding principal balance, accrued interest,

default interest, and PIK’d Interest (the “Acceleration Notice to 235 West 75th Street




                                                 24
Borrower”). A copy of the Acceleration Notice to 235 West 75th Street Borrower is attached

hereto as Exhibit Z.

        102.    As of March 22, 2021, the outstanding principal balance due under the 235 West

75th Street Note and the other loan documents (inclusive of protective advances) was

$40,883,134.81 in addition to, inter alia, accrued and unpaid interest, default interest, and late fees.

The foregoing is in addition to certain other costs incurred by Original Lender and Plaintiff as a

result of the aforementioned defaults including, without limitation, collection costs and attorneys’

fees.

                (1)     Defendant’s Liability under the 235 West 75th Street Payment
                        Guaranty

        103.    As of the date hereof, both principal and interest on the 235 West 75th Street Loan

remain outstanding.

        104.    Accordingly, under the 235 West 75th Street Payment Guaranty, Guarantors are

fully and personally liable for repayment of both principal and interest on the 235 West 75th Street

Loan, in an amount not to exceed $1,833,000.00 (the “Guarantors’ Liability on the 235 West

75th Street Payment Guaranty”).

        105.    By correspondence dated July 10, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability on the 235 West 75th Street Payment Guaranty was due and made

demand on Guarantors for payment in full of the Guarantors’ liability (the “235 West 75th Street

Payment Guaranty Demand”). A copy of the 235 West 75th Street Payment Guaranty Demand

is attached hereto as Exhibit AA.

        106.    The outstanding principal due under the 235 West 75th Street Loan is now far in

excess of the amount due under the 235 West 75th Street Payment Guaranty.




                                                  25
       107.    As of the date hereof, Guarantors have not paid a portion of the principal and

interest of the 235 West 75th Street Loan.

               (2)    Defendant’s Liability under the 235 West 75th Street Carrying Costs
                      Guaranty

       108.    Additionally, under the 235 West 75th Street Carrying Costs Guaranty, Guarantors

are fully and personally liable for the Guaranteed Obligations under the 235 West 75th Street

Carrying Costs Guaranty in a minimum amount of $8,147,412.33,5 which amount covers, but is

not limited to, the debt service due on the 235 West 75th Street Loan and the related senior

mezzanine and mortgage loans as of the date of the 235 West 75th Street Carrying Costs Guaranty

Demand (as defined below) (the “Guarantors’ Liability on the 235 West 75th Street Carrying

Costs Guaranty”).

       109.    By correspondence dated July 16, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability under the 235 West 75th Street Carrying Costs Guaranty was due

and made demand on Guarantors for payment in full of the Guarantors’ liability (the “235 West

75th Street Carrying Costs Guaranty Demand”). A copy of 235 West 75th Street Carrying

Costs Guaranty Demand is attached hereto as Exhibit BB.

       110.    As of the date hereof, Guarantors have not paid any amount towards the Guaranteed

Obligations under the 235 West 75th Street Carrying Costs Guaranty.

               (3)    Defendants’ Liability under the 235 West 75th Street Supplemental
                      Payment Guaranty

       111.    Under the 235 West 75th Street Supplemental Payment Guaranty, Guarantors are

fully and personally liable for any unpaid Debt Service Reserve Deficiency Amount (as defined in

the 235 West 75th Street Supplemental Payment Guaranty) as well as any unpaid Operating



5      The amount does not include PIK’d Interest.


                                                26
Expense Reserve Deficiency Amount (as defined in the 235 West 75th Street Supplemental

Payment Guaranty).

       112.   By correspondence dated July 29, 2020, Original Lender requested Mortgage

Borrower (as defined in the 235 West 75th Street Loan Agreement) to pay the Operating Expense

Reserve Deficiency Amount calculated as of July 24, 2020, or $1,051,783.04 (the “235 West 75th

Street Operating Expense Reserve Deficiency Amount”), on or before August 13, 2020. The

235 West 75th Street Operating Expense Reserve Deficiency Amount has not been paid.

       113.   By correspondence dated July 29, 2020, Original Lender requested Mortgage

Borrower (as defined in the 235 West 75th Street Loan Agreement) to pay the Debt Service

Reserve Deficiency Amount calculated as of July 24, 2020, or $5,916,200.56 (the “235 West 75th

Street Debt Service Reserve Deficiency Amount”), on or before August 7, 2020.                 By

correspondence dated August 11, 2020, Original Lender made a second request to Mortgage

Borrower (as defined in the 235 West 75th Street Loan Agreement) to pay the 235 West 75th Street

Debt Service Reserve Deficiency Amount on or before August 14, 2020. The 235 West 75th Street

Debt Service Reserve Deficiency Amount has not been paid.

       114.   By correspondence dated August 18, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability on the 235 West 75th Street Supplemental Payment Guaranty was

due and made demand on Guarantors for payment in full of the Guarantors’ liability (the “235

West 75th Street Supplemental Payment Guaranty Demand”). A copy of the 235 West 75th

Street Supplemental Payment Guaranty Demand is attached hereto as Exhibit CC.

       115.   As of the date hereof, Guarantors have not paid any amount towards either the

235 West 75th Street Operating Expense Reserve Deficiency Amount or 235 West 75th Street




                                              27
Debt Service Reserve Deficiency Amount pursuant to the 235 West 75th Street Supplemental

Payment Guaranty.

               (4)      Defendants’ Liability under the 235 West 75th Street Recourse
                        Guaranty

       116.    Additionally, under the 235 West 75th Street Recourse Guaranty, Guarantors are

fully and personally liable for the Guaranteed Obligations under the 235 West 75th Street Recourse

Guaranty in a minimum amount of $2,212,951.44, which amount covers, but is not limited to, the

Deferred Senior Mezzanine Origination Fee (as defined in the 235 West 75th Street Loan

Agreement) as of the date of the 235 West 75th Street Recourse Guaranty Demand (as defined

below) (the “Guarantors’ Liability on the 235 West 75th Street Recourse Guaranty”).

       117.    By correspondence dated July 17, 2020, Original Lender notified the Guarantors

that a portion of the Guarantors’ Liability on the 235 West 75th Street Recourse Guaranty covering

the Deferred Senior Mezzanine Origination Fee (and interest thereon) was then due and made

demand on Guarantors for payment in full of such amount (the “235 West 75th Street Recourse

Guaranty Demand”). A copy of 235 West 75th Street Recourse Guaranty Demand is attached

hereto as Exhibit DD.

       118.    As of the date hereof, Guarantors’ Liability on the 235 West 75th Street Recourse

Guaranty remains unpaid.

       D.      HFZ 301 West 53rd Street Junior Mezzanine LLC

       119.    On or about November 30, 2018, HFZ 301 West 53rd Street Junior Mezzanine LLC

(“301 West 53rd Street Borrower”) requested that Original Lender make a loan to 301 West 53rd

Street Borrower in the original principal amount of up to $10,138,300.00 (the “301 West 53rd

Street Loan”).




                                               28
       120.    On or about November 30, 2018, 301 West 53rd Street Borrower and Original

Lender executed a Junior Mezzanine Loan and Security Agreement in the original principal

amount of $10,138,300.00, payable to Original Lender (as amended from time to time, the “301

West 53rd Street Loan Agreement”). A copy of the 301 West 53rd Street Loan Agreement is

attached hereto as Exhibit EE.

       121.    On or about November 30, 2018, 301 West 53rd Street Borrower executed a Junior

Mezzanine Loan Promissory Note in favor of Original Lender pursuant to the terms and conditions

of the Junior Mezzanine Loan and Security Agreement (as amended, restated, replaced,

supplemented or otherwise modified from time to time, the “301 West 53rd Street Note”). A

copy of the 301 West 53rd Street Note is attached hereto as Exhibit FF.

       122.    Guarantors were the owners of an indirect interest in the 301 West 53rd Street

Borrower until January 7, 2021.

       123.    As a condition to Original Lender’s making the 301 West 53rd Street Loan,

Original Lender required that Defendants execute and deliver to Original Lender certain guaranties

in favor of Original Lender, including the Junior Mezzanine Payment Guaranty, dated November

30, 2018 (the “301 West 53rd Street Payment Guaranty”), the Junior Mezzanine Guaranty of

Carrying Costs, dated November 30, 2018 (the “301 West 53rd Street Carrying Costs

Guaranty”), the Junior Mezzanine Supplemental Payment Guaranty, dated November 30, 2018

(the “301 West 53rd Street Supplemental Payment Guaranty”) and the Junior Mezzanine

Guaranty of Recourse Obligations, dated November 30, 2018 (the “301 West 53rd Street

Recourse Guaranty”).

       124.    Pursuant to Section 1.1 of the 301 West 53rd Street Payment Guaranty, Guarantors,

as primary obligors, jointly and severally guarantee the punctual and complete payment, as and




                                               29
when the same shall be due and payable, whether by lapse of time, by acceleration of maturity or

otherwise, of the repayment of a portion of principal and interest on the 301 West 53rd Street Loan,

in an amount not to exceed $951,500.00 (exclusive of costs of enforcement). A copy of the 301

West 53rd Street Payment Guaranty is attached hereto as Exhibit GG.

       125.    Pursuant to the 301 West 53rd Street Carrying Costs Guaranty, Defendants, jointly

and severally, guaranteed the punctual and complete payment and performance of the Guaranteed

Obligations, which include, without limitation, (a) 301 West 53rd Street Borrower’s obligations to

pay interest payable at the Interest Rate or the Default Rate, as applicable under the 301 West 53rd

Street Loan, including any PIK’d Interest, (b) Senior Mezzanine Borrower’s (as defined in the 301

West 53rd Street Loan Agreement) obligations to pay interest payable under the 301 West 53rd

Street Senior Mezzanine Loan (as defined in the 301 West 53rd Street Loan Agreement), (c)

Mortgage Borrower’s (as defined in the 301 West 53rd Street Loan Agreement) obligations to pay

interest payable under the Mortgage Loan (as defined in the 301 West 53rd Street Loan

Agreement), (d) 301 West 53rd Street Borrower’s obligation to cause Mortgage Borrower (as

defined in the 301 West 53rd Street Loan Agreement) to pay Impositions, and (e) 301 West 53rd

Street Borrower’s obligation to reimburse Administrative Agent for costs and expenses under

Section 20.2.1 of the 301 West 53rd Street Loan Agreement (collectively, the “Guaranteed

Obligations under the 301 West 53rd Street Carrying Costs Guaranty”). A copy of the 301

West 53rd Street Carrying Costs Guaranty is attached hereto as Exhibit HH.

       126.    Pursuant to the 301 West 53rd Street Supplemental Payment Guaranty, Defendants,

jointly and severally, guaranteed the punctual and complete payment as and when the same shall

be due and payable, of an amount equal to the positive difference, as of the date of calculation, of

(i) the sum of (x) the Debt Service Reserve Deficiency Amount (as defined in the 301 West 53rd




                                                30
Street Supplemental Payment Guaranty) plus (y) the Operating Expense Reserve Deficiency

Amount (as defined in the 301 West 53rd Street Supplemental Payment Guaranty), less (ii) the

aggregate amount actually on deposit in each of the Operating Expense Account (as defined in the

301 West 53rd Street Supplemental Payment Guaranty) and the Debt Service Account (as defined

in the 301 West 53rd Street Supplemental Payment Guaranty).

       127.    Pursuant to the 301 West 53rd Street Recourse Guaranty, Defendants, jointly and

severally, guaranteed the punctual and complete payment, fulfillment and performance, as and

when the same shall be due and payable, whether by lapse of time, by acceleration of maturity or

otherwise, of all obligations of Borrower for which Borrower is stated to be personally liable

pursuant to Section 18.2 of the 301 West 53rd Street Loan Agreement.

       128.    Events of Default have occurred under the 301 West 53rd Street Loan pursuant to,

among others, Sections 17.1(a)(i)(B), 17.1(a)(ii), 17.1(a)(xii), 17.1(a)(xxiii), 17.1(a)(xxvi),

17.1(a)(xli), 17.1(a)(xlii) and 17.1(a)(xliii) of the 301 West 53rd Street Loan Agreement, and

continued to occur until January 7, 2021 when Plaintiff gained control of the properties.

       129.    By letter dated July 2, 2020, Original Lender notified Guarantors that Events of

Default, as defined in the 301 West 53rd Street Loan Agreement, had occurred under the loan

agreement as a result of, inter alia, 301 West 53rd Street Borrower’s failure to pay all amounts

due under the 301 West 53rd Street Loan on January 9, 2020, February 7, 2020, March 9, 2020,

April 9, 2020, May 8, 2020, and June 9, 2020 (the “301 West 53rd Street Notice of Default to

Guarantors”). A copy of the 301 West 53rd Street Notice of Default to Guarantors is attached

hereto as Exhibit II.

       130.    By letter dated July 9, 2020, Original Lender (i) notified 301 West 53rd Street

Borrower that Events of Default continued to exist and that the 301 West 53rd Street Loan had




                                                31
been accelerated, and (ii) demanded immediate payment of all amounts due under the 301 West

53rd Street Loan, including, without limitation, the outstanding principal balance, accrued interest,

default interest, and PIK’d Interest (the “Acceleration Notice to 301 West 53rd Street

Borrower”). A copy of the Acceleration Notice to 301 West 53rd Street Borrower is attached

hereto as Exhibit JJ.

        131.    As of March 22, 2021, the outstanding principal balance due under the 301 West

53rd Street Note and the other loan documents (inclusive of protective advances) was

$10,474,271.59 in addition to, inter alia, accrued and unpaid interest, default interest, and late fees.

The foregoing is in addition to certain other costs incurred by Original Lender and Plaintiff as a

result of the aforementioned defaults including, without limitation, collection costs and attorneys’

fees.

                (1)     Defendant’s Liability under the 301 West 53rd Street Payment
                        Guaranty

        132.    As of the date hereof, both principal and interest on the 301 West 53rd Street Loan

remain outstanding.

        133.    Accordingly, under the 301 West 53rd Street Payment Guaranty, Guarantors are

fully and personally liable for repayment of both principal and interest on 301 West 53rd Street

Loan, in an amount not to exceed $951,500.00 (the “Guarantors’ Liability on the 301 West 53rd

Street Payment Guaranty”).

        134.    By correspondence dated July 10, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability on the 301 West 53rd Street Payment Guaranty was due and made

demand on Guarantors for payment in full of the Guarantors’ liability (the “301 West 53rd Street

Payment Guaranty Demand”). A copy of the 301 West 53rd Street Payment Guaranty Demand

is attached hereto as Exhibit KK.



                                                  32
       135.    The outstanding principal due under the 301 West 53rd Street Loan is far in excess

of the amount due under the 301 West 53rd Street Payment Guaranty.

       136.    As of the date hereof, Guarantors have not paid a portion of the principal and

interest of the 301 West 53rd Street Loan.

               (2)    Defendant’s Liability under the 301 West 53rd Street Carrying Costs

       137.    Additionally, under the 301 West 53rd Street Carrying Costs Guaranty, Guarantors

are fully and personally liable for the Guaranteed Obligations under the 301 West 53rd Street

Carrying Costs Guaranty in a minimum amount of $1,999,661.28,6 which amount covers, but is

not limited to, the debt service due on the 301 West 53rd Street Loan and the related senior

mezzanine and mortgage loans as of the date of the 301 West 53rd Street Carrying Costs Guaranty

Demand (as defined below) (the “Guarantors’ Liability on the 301 West 53rd Street Carrying

Costs Guaranty”).

       138.    By correspondence dated July 16, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability on the 301 West 53rd Street Carrying Costs Guaranty was due and

made demand on Guarantors for payment in full of the Guarantors’ liability (the “301 West 53rd

Street Carrying Costs Guaranty Demand”). A copy of 301 West 53rd Street Carrying Costs

Guaranty Demand is attached hereto as Exhibit LL.

       139.    As of the date hereof, Guarantors have not paid any amount towards the Guaranteed

Obligations under the 301 West 53rd Street Carrying Costs Guaranty.

               (3)    Defendants’ Liability under the 301 West 53rd Street Supplemental
                      Payment Guaranty

       140.    Under the 301 West 53rd Street Supplemental Payment Guaranty, Guarantors are

fully and personally liable for any unpaid Debt Service Reserve Deficiency Amount (as defined in


6      The amount does not include PIK’d Interest.


                                                33
the 301 West 53rd Street Supplemental Payment Guaranty) as well as any unpaid Operating

Expense Reserve Deficiency Amount (as defined in the 301 West 53rd Street Supplemental

Payment Guaranty).

       141.   By correspondence dated July 29, 2020, Original Lender requested Mortgage

Borrower (as defined in the 301 West 53rd Street Loan Agreement) to pay the Operating Expense

Reserve Deficiency Amount calculated as of July 24, 2020, or $256,286.18 (the “301 West 53rd

Street Operating Expense Reserve Deficiency Amount”), on or before August 13, 2020. The

301 West 53rd Street Operating Expense Reserve Deficiency Amount has not been paid.

       142.   By correspondence dated July 29, 2020, Original Lender requested Mortgage

Borrower (as defined in the 301 West 53rd Street Loan Agreement) to pay the Debt Service

Reserve Deficiency Amount calculated as of July 24, 2020, or $1,537,717.07 (the “301 West 53rd

Street Debt Service Reserve Deficiency Amount”), on or before August 7, 2020.               By

correspondence dated August 11, 2020, Original Lender made a second request to Mortgage

Borrower (as defined in the as defined in the 301 West 53rd Street Loan Agreement) to pay the

301 West 53rd Street Debt Service Reserve Deficiency Amount on or before August 14, 2020. The

301 West 53rd Street Debt Service Reserve Deficiency Amount has not been paid.

       143.   By correspondence dated August 18, 2020, Original Lender notified the Guarantors

that the Guarantors’ Liability on the 301 West 53rd Street Supplemental Payment Guaranty was

due and made demand on Guarantors for payment in full of the Guarantors’ liability (the “301

West 53rd Street Supplemental Payment Guaranty Demand”). A copy of the 301 West 53rd

Street Supplemental Payment Guaranty Demand is attached hereto as Exhibit MM.

       144.   As of the date hereof, Guarantors have not paid any amount towards either the 301

West 53rd Street Operating Expense Reserve Deficiency Amount or 301 West 53rd Street Debt




                                             34
Service Reserve Deficiency Amount pursuant to the 301 West 53rd Street Supplemental Payment

Guaranty.

               (4)      Defendants’ Liability under the 301 West 53rd Street Recourse
                        Guaranty

       145.    Additionally, under the 301 West 53rd Street Recourse Guaranty, Guarantors are

fully and personally liable for the Guaranteed Obligations under the 301 West 53rd Street Recourse

Guaranty in a minimum amount of $1,149,016.73, which amount covers, but is not limited to, the

Deferred Senior Mezzanine Origination Fee (as defined in the 301 West 53rd Street Loan

Agreement) as of the date of the 301 West 53rd Street Recourse Guaranty Demand (as defined

below) (the “Guarantors’ Liability on the 301 West 53rd Street Recourse Guaranty”).

       146.    By correspondence dated July 17, 2020, Original Lender notified the Guarantors

that a portion of the Guarantors’ Liability on the 301 West 53rd Street Recourse Guaranty covering

the Deferred Senior Mezzanine Origination Fee (and interest thereon) was then due and made

demand on Guarantors for payment in full of such amount (the “301 West 53rd Street Recourse

Guaranty Demand”). A copy of 301 West 53rd Street Recourse Guaranty Demand is attached

hereto as Exhibit NN.

       147.    As of the date hereof, Guarantors’ Liability on the 301 West 53rd Street Recourse

Guaranty remains unpaid.

                           COUNT ONE:
    ENFORCEMENT OF THE 88 LEXINGTON AVENUE PAYMENT GUARANTY

       148.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein




                                               35
        149.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 88 Lexington Avenue Payment Guaranty in a minimum amount of $1,383,500.00,

exclusive of interest and costs.

        150.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 88

Lexington Avenue Loan to 88 Lexington Avenue Borrower.

        151.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 88 Lexington Avenue Payment Guaranty.

        152.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 88 Lexington Avenue Payment

Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                            COUNT TWO:
       ENFORCEMENT OF THE 88 LEXINGTON AVENUE CARRYING COSTS
                             GUARANTY

        153.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein

        154.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 88 Lexington Avenue Carrying Costs Guaranty in a minimum amount of $6,560,408.75 ,

exclusive of interest and costs.

        155.    Guarantors directly benefitted from the Plaintiff predecessor’s making the 88

Lexington Avenue Loan to 88 Lexington Avenue Borrower.

        156.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 88 Lexington Avenue Carrying Costs Guaranty.




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        157.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 88 Lexington Avenue Carrying Costs

Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                         COUNT THREE:
 ENFORCEMENT OF THE 88 LEXINGTON AVENUE SUPPLEMENTAL PAYMENT
                           GUARANTY

        158.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein.

        159.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 88 Lexington Avenue Supplemental Payment Guaranty in a minimum amount of

$5,287,635.67, exclusive of interest and costs.

        160.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 88

Lexington Avenue Loan to 88 Lexington Avenue Borrower.

        161.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 88 Lexington Avenue Supplemental Payment Guaranty.

        162.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 88 Lexington Avenue Supplemental

Payment Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                           COUNT FOUR:
    ENFORCEMENT OF THE 88 LEXINGTON AVENUE RECOURSE GUARANTY

        163.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein.




                                                  37
        164.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 88 Lexington Avenue Recourse Guaranty in a minimum amount of $1,670,063.54 ,

exclusive of interest and costs.

        165.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 88

Lexington Avenue Loan to 88 Lexington Avenue Borrower.

        166.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 88 Lexington Avenue Recourse Guaranty.

        167.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 88 Lexington Avenue Recourse

Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                            COUNT FIVE:
     ENFORCEMENT OF THE 90 LEXINGTON AVENUE PAYMENT GUARANTY

        168.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein.

        169.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 90 Lexington Avenue Payment Guaranty in a minimum amount of $832,000.00 ,

exclusive of interest and costs.

        170.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 90

Lexington Avenue Loan to 90 Lexington Avenue Borrower.

        171.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 90 Lexington Avenue Payment Guaranty.

        172.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 90 Lexington Avenue Payment



                                                38
Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                             COUNT SIX:
       ENFORCEMENT OF THE 90 LEXINGTON AVENUE CARRYING COSTS
                             GUARANTY

        173.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein

        174.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 90 Lexington Avenue Carrying Costs Guaranty in a minimum amount of $3,855,184.74 ,

exclusive of interest and costs.

        175.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 90

Lexington Avenue Loan to 90 Lexington Avenue Borrower.

        176.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 90 Lexington Avenue Carrying Costs Guaranty.

        177.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 90 Lexington Avenue Carrying Costs

Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                         COUNT SEVEN:
 ENFORCEMENT OF THE 90 LEXINGTON AVENUE SUPPLEMENTAL PAYMENT
                           GUARANTY

        178.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein.




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        179.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 90 Lexington Avenue Supplemental Payment Guaranty in a minimum amount of

$3,208,249.51, exclusive of interest and costs.

        180.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 90

Lexington Avenue Loan to 90 Lexington Avenue Borrower.

        181.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 90 Lexington Avenue Supplemental Payment Guaranty.

        182.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 90 Lexington Avenue Supplemental

Payment Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                           COUNT EIGHT:
    ENFORCEMENT OF THE 90 LEXINGTON AVENUE RECOURSE GUARANTY

        183.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein.

        184.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 90 Lexington Avenue Recourse Guaranty in a minimum amount of $1,004,528.06 ,

exclusive of interest and costs.

        185.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 90

Lexington Avenue Loan to 90 Lexington Avenue Borrower.

        186.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 90 Lexington Avenue Recourse Guaranty.

        187.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 90 Lexington Avenue Recourse



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Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                           COUNT NINE:
    ENFORCEMENT OF THE 235 WEST 75TH STREET PAYMENT GUARANTY

        188.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein

        189.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 235 West 75th Street Payment Guaranty in a minimum amount of $1,833,000.00 ,

exclusive of interest and costs.

        190.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 235

West 75th Street Loan to 235 West 75th Street Borrower.

        191.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 235 West 75th Street Payment Guaranty.

        192.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 235 West 75th Street Payment

Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                          COUNT TEN:
ENFORCEMENT OF THE 235 WEST 75TH STREET CARRYING COSTS GUARANTY

        193.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein

        194.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 235 West 75th Street Carrying Costs Guaranty in a minimum amount of $8,147,412.33 ,

exclusive of interest and costs.




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        195.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 235

West 75th Street Loan to 235 West 75th Street Borrower.

        196.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 235 West 75th Street Carrying Costs Guaranty.

        197.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 235 West 75th Street Carrying Costs

Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                         COUNT ELEVEN:
 ENFORCEMENT OF THE 235 WEST 75TH STREET SUPPLEMENTAL PAYMENT
                           GUARANTY

        198.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein.

        199.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 235 West 75th Street Supplemental Payment Guaranty in a minimum amount of

$6,967,983.60, exclusive of interest and costs.

        200.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 235

West 75th Street Loan to 235 West 75th Street Borrower.

        201.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 235 West 75th Street Supplemental Payment Guaranty.

        202.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 235 West 75th Street Supplemental

Payment Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.




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                         COUNT TWELVE:
    ENFORCEMENT OF THE 235 WEST 75TH STREET RECOURSE GUARANTY

        203.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein.

        204.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 235 West 75th Street Recourse Guaranty in a minimum amount of $2,212,951.44 ,

exclusive of interest and costs.

        205.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 235

West 75th Street Loan to 235 West 75th Street Borrower.

        206.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 235 West 75th Street Recourse Guaranty.

        207.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 235 West 75th Street Recourse

Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                        COUNT THIRTEEN:
    ENFORCEMENT OF THE 301 WEST 53RD STREET PAYMENT GUARANTY

        208.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein

        209.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 301 West 53rd Street Payment Guaranty in a minimum amount of $951,500.00,

exclusive of interest and costs.

        210.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 301

West 53rd Street Loan to 301 West 53rd Street Borrower.




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        211.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 301 West 53rd Street Payment Guaranty.

        212.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 301 West 53rd Street Payment

Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                        COUNT FOURTEEN:
ENFORCEMENT OF THE 301 WEST 53RD STREET CARRYING COSTS GUARANTY

        213.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein

        214.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 301 West 53rd Street Carrying Costs Guaranty in a minimum amount of $1,999,661.28 ,

exclusive of interest and costs.

        215.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 301

West 53rd Street Loan to 301 West 53rd Street Borrower.

        216.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 301 West 53rd Street Carrying Costs Guaranty.

        217.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 301 West 53rd Street Carrying Costs

Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                         COUNT FIFTEEN:
 ENFORCEMENT OF THE 301 WEST 53RD STREET SUPPLEMENTAL PAYMENT
                           GUARANTY




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        218.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein.

        219.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 301 West 53rd Street Supplemental Payment Guaranty in a minimum amount of

$1,794,003.25, exclusive of interest and costs.

        220.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 301

West 53rd Street Loan to 301 West 53rd Street Borrower.

        221.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 301 West 53rd Street Supplemental Payment Guaranty.

        222.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 301 West 53rd Street Supplemental

Payment Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                         COUNT SIXTEEN:
    ENFORCEMENT OF THE 301 WEST 53RD STREET RECOURSE GUARANTY

        223.    Plaintiff re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 128 above as if fully repeated and set forth herein.

        224.    As described above, Plaintiff is entitled to immediate payment of all amounts due

under the 301 West 53rd Street Recourse Guaranty in a minimum amount of $1,149,016.73 ,

exclusive of interest and costs.

        225.    Guarantors directly benefitted from the Plaintiff’s predecessor making the 301

West 53rd Street Loan to 301 West 53rd Street Borrower.

        226.    Guarantors have failed to pay to the Plaintiff the amounts, including interest and

costs, due under the 301 West 53rd Street Recourse Guaranty.



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        227.    By reason of the facts set forth above, Plaintiff is entitled to enforcement of its

rights and remedies against the Guarantors arising under the 301 West 53rd Street Recourse

Guaranty, at law and in equity, including without limitation, judgment in the amount of

Guarantors’ liability.

                                         CONCLUSION

        WHEREFORE, Plaintiff prays for judgment in favor of Plaintiff and against Defendants,

jointly and severally, as follows:

        A.      Judgment against Guarantors to the extent of the Guarantors’ Liability on the 88

                Lexington Avenue Payment Guaranty;

        B.      Judgment against Guarantors to the extent of the Guarantors’ Liability on the 88

                Lexington Avenue Carrying Costs Guaranty;

        C.      Judgment against Guarantors to the extent of the Guarantors’ Liability on the 88

                Lexington Avenue Supplemental Payment Guaranty;

        D.      Judgment against Guarantors to the extent of the Guarantors’ Liability on the 88

                Lexington Avenue Recourse Guaranty;

        E.      Judgment against Guarantors to the extent of the Guarantors’ Liability on the 90

                Lexington Avenue Payment Guaranty;

        F.      Judgment against Guarantors to the extent of the Guarantors’ Liability on the 90

                Lexington Avenue Carrying Costs Guaranty;

        G.      Judgment against Guarantors to the extent of the Guarantors’ Liability on the 90

                Lexington Avenue Supplemental Payment Guaranty;

        H.      Judgment against Guarantors to the extent of the Guarantors’ Liability on the 90

                Lexington Avenue Recourse Guaranty;




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I.   Judgment against Guarantors to the extent of the Guarantors’ on the 235 West 75th

     Street Payment Guaranty;

J.   Judgment against Guarantors to the extent of the Guarantors’ Liability on the 235

     West 75th Street Carrying Costs Guaranty;

K.   Judgment against Guarantors to the extent of the Guarantors’ Liability on the 235

     West 75th Street Supplemental Payment Guaranty;

L.   Judgment against Guarantors to the extent of the Guarantors’ Liability on the 235

     West 75th Street Recourse Guaranty;

M.   Judgment against Guarantors to the extent of the Guarantors’ Liability on the 301

     West 53rd Street Payment Guaranty;

N.   Judgment against Guarantors to the extent of the Guarantors’ Liability on the 301

     West 53rd Street Carrying Costs Guaranty;

O.   Judgment against Guarantors to the extent of the Guarantors’ Liability on the 301

     West 53rd Street Supplemental Payment Guaranty;

P.   Judgment against Guarantors to the extent of the Guarantors’ Liability on the 301

     West 53rd Street Recourse Guaranty;

Q.   Prejudgment and post-judgment interest;

R.   Reasonable attorneys’ fees;

S.   Compensatory damages, including, but not limited to, default interest, and late fees;

T.   Total damages in an amount to be determined at trial but presently believed to be

     in excess of $48,857,098.90; and

U.   Such other and further relief as the Court deems just and appropriate.




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Dated: New York, New York
       March 23, 2021
                                 DECHERT LLP

                                    By: /s/ Gary J. Mennitt
                                    Gary J. Mennitt
                                    Pat Andriola

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